             CASE 0:21-cr-00268-SRN-LIB Doc. 1 Filed 12/09/21 Page 1 of 2

                          I.INITED STATES DISTRICT COURT                            cK al - 468 srrrl l"tg
                               DISTzuCT OF MINNESOTA

                                                              ,.   INDICTMENT
 UMTED STATES OF AMERICA.

                       Plaintiff                                   1S U.S.C. $ 2
                                                          '        18 U.S.C. $ 113(a)(3)
        v.                                                ,        18 U.S.C. $ 113(aX6)
                                                                   18 u.s.c. $ e24(d)(1)
 (1) ALEXIA GAH GI GAYMARY CUTBANK,                                18 U.S.C. $ 1111 ..
 (2) MIA FAYE SUMNER,                                              18 U.S.C. $ 11s1
                                                                   18 U.S.C. $ 11s3(a)
                       Defendants.                                 28 U.S.C. $ 2461(c)

       THE UNITED STATES GRAND JURY CHARGES TTIAT:

                                          COUNT      1.

                               (Murder in the Second Degree)

        On or about August 12,2019,in the State andDistrict of Minnesota, and within the

exterior boundaries of the Red Lake Indian Reservation, the             defendants,                     l



                    ALEXIA GAH GI GAY MARY CUTBANK,                           ANd
                             MIA F'AYE SUMNER,

who are Indians, while aiding and abetting each other and others known and unknown to

'the Grand Jury, did with malice aforethought unlawfully kill D.A.J., all in violation of Title

 18, United States Code, Sections    2,llll,   1151, and 1153(a).

                                         COUNT 2
                            (Assault with a Dangerous Weapon)

        On or about Aueult 12,2019, in the State and District of Minnesota, and within the

exterior boundaries of the Red Lake Indian Reservation, the defendants,

                    ALEXIA GAH GI GAY.MARY CUTBAIIK,                          ANd
                                    MTA F'AYE SUMNER,

who are Indians, while aiding and abetting each other and others known and unknown to

the Grand Jury, did assault T.B.S. with a dangerous weapon, namely a firearm, with intent

                                                                                                       N

                                                                                              DEC 0   I     2021

                                                                                        U.S, DISTHICT COURT   SI   PAUL
           CASE 0:21-cr-00268-SRN-LIB Doc. 1 Filed 12/09/21 Page 2 of 2


Unit6d States v. Alexia Gah Gi Gav Marv Cutbank. et al.
'to do bodily harm, all in violation of Title 18, United States Code, Sections 2,I13(a)(3),

1151, and 1153(a).

                                                 COUNT 3
                            (Assault Resulting in Serious Bodily Injury)

        On or about August 12,20lg,in the State and District of Minnesota, and within the

exterior borrndaries of the Red Lake Indian Reservation, the defendants,




who are Indians, while aiding and abetting each other and others known and unknown to

the Grand Jury, did assault T.B.S. resulting in serious bodily injury, all in violation of Title

18, United States Code, Sections         2, I73(a)(6),    1   15 1,   and 1 153(a).

                                  FORFEITURE ALLEGATIONS

        If convicted of any of Counts 1 through 3 of this Indictment, the defendants

                       ALEXIA GAH GI GAY MARY CUTBAIIK,                               and
                           .    MIA FAYE SUMNER,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

g24(d)(l) and Title 28, United States Code, Section 246I(c), any firearms, ammunition,

and accessories involved in or used in the commission of Counts 1 throueh 3.

                                              A TRUE BILL




ACTING UMTED STATES ATTORNEY                                  FOREPERSON
